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     In re the Parental Responsibilities Concerning M M., Child  and  Concerning William Muhr, Petitioner  and  Kristin Lee. Respondent No. 24SC127Supreme Court of Colorado, En BancJune 24, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA118
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    